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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                           CRIMINAL ACTION

VERSUS                                             NO. 94‐381

PAUL HARDY                                         SECTION “C”

                                  ORDER AND REASONS

       IT IS ORDERED that the government’s motion for reconsideration is DENIED.

(Rec. Doc. 1840). After reviewing the pleadings, and reading an extensive amount of

additional cases, state and federal, the Court is satisfied that its original ruling is correct

and soundly based.

       IT IS FURTHER ORDERED that the defendant’s motion to seal affidavit is

DISMISSED as MOOT. (Rec. Doc. 1895). The Court found it unnecessary in its review

to consider the affidavit by defense counsel Michelle Fournet attached to the

defendant’s opposition, and it shall be returned to her, unread. The opposition shall be

filed into the record.

       IT IS FURTHER ORDERED that the Atkins hearing remains set for February 2,

2009, at 10:00 a.m.

       New Orleans, Louisiana, this 1st day of December, 2008.

                                                   ____________________________________
                                                   HELEN G. BERRIGAN
                                                   UNITED STATES DISTRICT JUDGE
